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    g                       UNITED STATES DISTRICT COURT                            J S-21JS-3 ~
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   9                       CENTRAL DISTRICT OF CALIFORNIA

  10
  11    DAVID M. LORITZ, Individually and
  12    on Behalf of All Others Similarly         Case No. 2:13-cv-02607-SVW-E
        Situated,
  13                                              CLASS ACTION
                        Plaintiffs,
  14                                              FINAL JUDGMENT AND ORDER
  15    v.                                        OF DISMISSAL

  16    EXIDE TECHNOLOGIES, et al.
  17                    Defendants.
  18
  19
                     WHEREAS, (i) Lead Plaintiffs James Cassella and Sandra Weitsman
  20
  21    and Plaintiffs Kevin Grace, James Close, Mitchell Abel and Steamfitters' Industry
  22
        Benefit Fund ("Plaintiffs"), on behalf of themselves and each of the Class
  23
  24    Members, and (ii) Defendants James R. Bolch, Phillip A. Damaska, R. Paul Hirt,

  25    Louis E. Martinez, John P. Reilly, Herbert F. Aspbury, Michael R. D'Appolonia,
  26
        David S. Ferguson, John O'Higgins, and Domenic J. Pileggi ("Defendants") have
  27
                                                                             "Stipulation"),
  f►.~:~ entered into the Stipulation of Settlement dated March 7, 2016 (the

                                                  1
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    1   providing for the settlement of the Action and release of all Released Claims and
    2
        Released Defendants' Claims, which include Unknown Claims (the "Stipulation"),
    3
   4    on the terms and conditions set forth in the Stipulation, subject to approval of this

    5   Court(the "Settlement");
   6
                     WHEREAS,all capitalized terms used herein shall have the same
   7
   8    meaning as set forth in the Stipulation;

   9                 WHEREAS,in the Preliminary Approval Order dated April 6, 2016,
  10
        this Court(a) preliminarily approved the Settlement;(b)preliminarily certified the
  11
  12    Action as a class action for settlement purposes;(c) ordered that notice of the

  13    proposed Settlement be provided to potential Class Members;(d)provided Class
  14
        Members with the opportunity either to exclude themselves from the Class or to
  15
  16    object to the proposed Settlement, the proposed Plan of Allocation, and/or the Fee
  17    and Expense Application; and (e)scheduled a hearing regarding, among other
  18
        things, final approval of the Settlement, the proposed Plan of Allocation, and the
  19
  20    Fee and Expense Application;
  21                 WHEREAS,due and adequate notice has been given to the Class;
  22
                     WHEREAS,the Court conducted a hearing on June 6,2016(the
  23
  24    "Settlement Hearing")to consider, among other things,(i) whether the terms and
  25
        conditions ofthe Settlement are fair, reasonable, and adequate and should therefore
  26
        be approved;(ii) whether a judgment should be entered dismissing the Action with
  27
  28    prejudice as against the Defendants;(iii) whether to approve the Plan of Allocation

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    1   as a fair and reasonable method to allocate the Settlement proceeds among the
    2
        Members ofthe Class; and (iv) whether and in what amount to award Plaintiffs'
    3
    4   Counsel's fees and reimbursement of expenses;

    5                WHEREAS,the Court having reviewed and considered the

        Stipulation, all papers filed and proceedings held in connection with the Settlement,
    7
   8    and the record in the Action, and with good cause appearing therefor; and

   9                 NOW,THEREFORE,IT IS HEREBY ORDERED, ADJUDGED
   10
        AND DECREED that:
  11
  12           1.    This Judgment incorporates by reference the definitions in the

  13    Stipulation, and all terms used herein shall have the same meanings as set forth in
  14
        the Stipulation, unless otherwise set forth herein.
  15
  16          2.     The Court has jurisdiction over the subject matter ofthe Action and

  ~~I over all parties to the Action, including, but not limited to, Plaintiffs, all Class
  18
      Members, and Defendants.
  19
  20          3.     Plaintiffs are hereby appointed, for settlement purposes only, as the
  21    Class Representatives in respect of the Class for purposes of Federal Rule of Civil
  ~~~
        Procedure 23. Federman &Sherwood, which was appointed by the Court to serve
  23
  24    as Lead Counsel, is hereby appointed, for settlement purposes only, as Class
  25
        Counsel for the Class pursuant to Rules 23(c)(1)(B) and (g)of the Federal Rules of
  26
        Civil Procedure.
  27
  28

                                                   3
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    1          4.     The Class that this Court preliminarily certified in the Preliminary
    2
         Approval Order are hereby finally certified for settlement purposes under Federal
    3
   4     Rule of Civil Procedure 23(b)(3).

    5          5.     The Class certified for settlement purposes by this Judgment consist
   6
         o£ (a) all persons and entities who purchased or otherwise acquired the common
   7
   8     stock of Exide Technologies("Exide") during the period from June 1, 2011 through

   9     May 24, 2013, inclusive; and (b) all persons and entities who purchased or
   10
         otherwise acquired in the secondary market Exide's 8 and 5/8% senior secured
  11
  12     notes due 2018 pursuant and/or traceable to the Company's Form S-4/A

  13     Registration Statement effective August 12, 2011, during the period from August
  14
         12, 2011 through November 9, 2012, inclusive, for Plaintiffs' claims under Sections
  15
  16     1 1 and 15 ofthe Securities Act of 1933. Excluded from the Class are Defendants,
  17     all current and former directors and officers ofExide during the Class Period, and
  18
         any family member,trust, company, entity or affiliate controlled or owned by any
  19
  20     ofthe excluded persons and entities referenced above. Also excluded from the
  21     Class are those Persons who timely and validly request exclusion from the Class.'
  22
               6.    In granting final certification ofthe Class, the Court finds that the
  23
  24     prerequisites for a class action under Federal Rules of Civil Procedure 23(a) and
  25
        (b)(3) have been satisfied in that:(a)the Class Members are so numerous that
  26
         ~ The absence of an Exhibit 1 from this Order reflects that no Persons requested
  27     exclusion from the Class.
  28

                                                  4
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    1   joinder of all Class Members in the Action is impracticable;(b)there are questions
    2
        of law and fact common to each Class that predominate over any individual
    3
   4    questions;(c)the claims of the Plaintiffs are typical ofthe claims ofthe Class;(d)

    5   the Plaintiffs and Plaintiffs' Counsel have fairly and adequately represented and
   6
        protected the interests of all Class Members; and (e)a class action is superior to
    7
   8    other available methods for the fair and efficient adjudication ofthe controversy,

   9    considering:(i)the interests of the Class Members in individually controlling the
  10
        prosecution ofthe separate actions;(ii) the extent and nature of any litigation
  11
  12    concerning the controversy already commenced by Class Members;(iii) the

  13    desirability or undesirability of continuing the litigation ofthese claims in this
  14
        particular forum; and (iv)the difficulties likely to be encountered in the
  15
  16    management of the Action.

  17          7.     Pursuant to Federal Rule of Civil Procedure 23, this Court hereby
  18
        approves the Settlement set forth in the Stipulation and finds that the Settlement is,
  19
  20    in all respects, fair,just, reasonable and adequate to the Class.
  21          8.     The Settlement is hereby finally approved in all respects, and the
  22
        parties are hereby directed to perform its terms.
  23
  24          9.     Except as to any individual claim of those Persons (identified in
  25
        Exhibit 1) who have validly and timely requested exclusion from the Class, the
  26
        Action (including all individual claims and Class claims presented thereby) is
  27
  28

                                                   5
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    1   dismissed with prejudice. The Parties are to bear their own fees and costs, except
    2
        as otherwise provided in the Stipulation.
    3
   4           10.   Upon the Effective Date hereof, and in consideration of:

   5 (a)Defendants' agreement to instruct their insurance carriers to pay the amount of
   6
      $14.75 million (the "Cash Settlement Amount")and (b)Defendants' release of
   7
   8    Defendants' Released Claims, as set forth in the Stipulation, Plaintiffs and each

   9    Class Member(and their Released Parties, as set forth in the Stipulation) shall be
  10
        deemed to have, and by operation ofthe Judgment shall have, fully, finally and
  11
  12    forever released, relinquished and discharged all Released Claims (including

  13    Unknown Claims, as defined in the Stipulation) against Defendants, and each of
  14
        them,and each oftheir Released Parties, whether or not such Class Member
  15
  16    executes and delivers a Proof of Claim. The releases provided for in the Stipulation
  17    are effective as of the Effective Date.
  18
              1 1.   The terms of the Stipulation and ofthis Judgment shall be forever
  19
  20    binding on Defendants, Plaintiffs, and all other Class Members (regardless of
  21    whether or not any individual Class Member submits a Proof of Claim or seeks or
  22
        obtains a distribution from the Net Settlement Fund), as well as their respective
  23
  24    heirs, executors, administrators, predecessors, successors, and assigns.
  25
              12.    The Persons listed on E~ibit 1 have submitted a valid request for
  26
        exclusion from the Class that was accepted by the Court. By virtue of such request,
  27
  28    these Persons are deemed not to be Members ofthe Class, and have no rights to

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    1   participate in the Settlement or to receive any distributions from the Net Settlement
    2
        Fund. Except for the Persons listed on E~ibit 1, no other Persons have submitted
    3
    4   requests for exclusion from the Class that were accepted by the Court. The Persons

    5   listed on Exhibit 1 are the only Persons whose request for exclusion has been
   6
        accepted, and, as a consequence, these Persons are not bound by the terms ofthe
    7
   8    Stipulation and this Final Judgment and Order of Dismissal.

   9           13.   The Escrow Agent appointed by Lead Counsel shall maintain the
   10
        Settlement Fund in accordance with the requirements set forth in the Stipulation.
  11
  12    No Defendant, or any Released Party, shall have any liability, obligation, or

  13    responsibility whatsoever for the administration ofthe Settlement or disbursement
  14
        ofthe Net Settlement Fund. Lead Counsel, Plaintiffs, the Escrow Agent, and the
  15
  16    Claims Administrator shall have no liability to any Class Member with respect to
  17    any aspect of the administration ofthe Settlement Fund, including, but not limited
  18
        to, the processing ofProofs of Claim and the distribution ofthe Net Settlement
  19
  20    Fund to Class Members.
  21          14.    The Plan of Allocation is approved as fair and reasonable, and Lead
  22
        Counsel and the Claims Administrator are directed to administer the Stipulation in
  23
  24    accordance with its terms and provisions.
  25
              15.    Class Members who have not been excluded from the Class are hereby
  26
        barred and enjoined from (a)filing, commencing, prosecuting, intervening in, or
  27
  28    participating (as class members or otherwise) in, any lawsuit in any jurisdiction

                                                  7
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    1    based on or relating to the Released Claims, and (b)organizing Class Members who
    2
         have not been excluded from the Class into a separate class for purposes of
    3
   4     pursuing as a purported class action any lawsuit(including by seeking to amend a

    5    pending complaint to include class allegations, or seeking class certification in a
   6
         pending action) based on or relating to the Released Claims.
   7
   8           16.    Except as otherwise expressly set forth in the Stipulation, upon the

   9    Effective Date, pursuant to § 21D of the Securities Exchange Act of 1934 (the
  10
        "Exchange Act"), 15 U.S.C. § 78u-4(~7, this Final Judgment and Order of
  11
  12     Dismissal bars and permanently enjoins all Persons from instituting or prosecuting

  13     any action or proceeding against the Defendants for equitable, partial, comparative,
  14
         or complete contribution, subrogation, or indemnity, however denominated, arising
  15
  16     out of or relating in any way to the Released Claims.

  17           17.    Upon the Effective Date hereof, and in consideration ofthe releases to
  18
        be provided by Plaintiffs, the Class, and all members thereof, Defendants, and each
  19
  20    ofthem (and their Released Parties), shall be deemed to have, and by operation of
  21    this Judgment shall have, fully, finally and forever released, relinquished and
  22
        discharged each and all ofthe Plaintiffs, Class Members, Lead Counsel, and each of
  23
  24    them,and each of their Released Parties from all Released Defendants' Claims
  25
        (including Unknown Claims).
  26
               18.   The Notice was disseminated and published in accordance with the
  27
  28    Preliminary Approval Order. The form and method of notifying the Class ofthe
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    1   pendency ofthe Action as a class action and ofthe terms and conditions ofthe
   2
        proposed Settlement satisfied the requirements of Rule 23 of the Federal Rules of
    3
   4    Civil Procedure, the Securities Exchange Act of 1934(as amended by the Private

    5   Securities Litigation Reform Act of 1995 ("PSLRA")), due process, and any other
   6
        applicable law, constituted the best notice practicable under the circumstances, and
   7
   8    constituted due and sufficient notice to all Persons entitled thereto.

   9           19.   The Plan of Allocation is approved as fair and reasonable, and Lead
  10
        Counsel and the Claims Administrator are directed to administer the Stipulation in
  11
  12    accordance with its terms and provisions.

  13          20.    Neither the Stipulation nor the Settlement contained therein, nor any
  14
        act performed or document executed pursuant to or in furtherance of the Stipulation
  15
  16    or the Settlement: (a)is or may be deemed to be or may be used as an admission,
  17    concession or evidence of, the validity or invalidity of any Released Claims, the
  18
        truth or falsity of any fact alleged by the Plaintiffs, the sufficiency or deficiency of
  19
  20    any defense that has been or could have been asserted in the Action, or of any
  21    alleged wrongdoing or liability of the Defendants and their Released Parties, or any
  22
        ofthem;(b)is or may be deemed to be or may be used as an admission of, or
  23
  24    evidence of, any fault or misrepresentation or omission with respect to any
  25
        statement or written document attributed to, approved or made by any of any of the
  26
        Defendants, or any oftheir Released Parties, in any civil, criminal or administrative
  27
  28    proceeding in any court, administrative agency or other tribunal;(c)is or may
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    1   deemed to be or shall be used, offered or received against the Defendants,
    2
        Plaintiffs, their Released Parties, or each or any ofthem, as an admission,
    3
    4   concession or evidence of, the validity or invalidity of any of Released Defendants'

    5   Claims, the infirmity or strength of any claims raised in the Action, the truth or
    6
        falsity of any fact alleged by Defendants, or the availability or lack of availability of
    7
    8   meritorious defenses to the claims raised in the Action; and(d)is or may be deemed

    9   to be or shall be construed as or received in evidence as an admission or concession
   10
        against the parties and their Released Parties, or each or any ofthem,that any of the
   11
   12   Plaintiffs' claims are with or without merit, that damages recoverable under the

   13   Plaintiffs' operative complaint would have been greater or less than the Cash
   14
        Settlement Amount or that the consideration to be given hereunder represents an
   15
   16   amount equal to, less than or greater than that amount which could have or would

   17   have been recovered after trial. Any of the parties or any of their Released Parties
   18
        may file this Stipulation and/or the Final Judgment in any action that may be
   19
   20   brought against such party or parties in order to support a defense or counterclaim
   21   based on principles of resjudicata, collateral estoppel, release, good faith
   22
        settlement,judgment bar or reduction or any other theory of claim preclusion or
   23
   24   issue preclusion or similar defense or counterclaim.
   25
              21.    Without affecting the finality of this Judgment in any way, the Court
   26
        hereby retains exclusive jurisdiction over the parties and Members of the Class for
   27
   28   all matters relating to the:(a)implementation ofthe Settlement and any award or

                                                  to
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    1     distribution ofthe Settlement Fund, including interest or income earned thereon;
    2
         (b)disposition ofthe Settlement Fund;(c)determination of applications for
    3
    4     attorneys' fees, costs, interest and reimbursement of expenses in the Action; and

    5 (d)construction, interpretation, enforcement, effectuation, and administration ofthe
    6
         Stipulation.
    7
    8           22.     The Court finds that the complaints filed in the Action were filed on a

    9    good faith basis in accordance with the PSLRA and Rule 11 ofthe Federal Rules of
   10
         Civil Procedure. The Court further finds that during the course ofthe Action, the
   11
   12    parties and their respective counsel at all times complied with the requirements of

   13    Federal Rule of Civil Procedure 11.
   14
                23.     Plaintiffs' Counsel are hereby awarded 25% of the Settlement Fund in
   15
   16    attorneys' fees, with interest earned thereon, and $1,581,380.01 in reimbursement
   17    of expenses. In making this award of attorneys' fees and reimbursement of
   18
         expenses, the Court has considered and found that:
   19
   20                   a.    the Settlement has created a fund of $14,750,000.00 in cash,
   21    plus interest or income earned thereon, that is already on deposit, and numerous
   ~~~
         Class Members who submit, or have submitted, acceptable Proofs of Claim will
   23
   24    benefit from the Settlement created by Plaintiffs' Counsel.
   25
                        b.    Plaintiffs' Counsel have litigated the Action and achieved the
   26
         Settlement with skill, perseverance, and diligent advocacy;
   27
   28

                                                    11
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    1                 c.    the Action involves complex factual and legal issues and, in the
    2
        absence of a settlement, would involve further lengthy proceedings with uncertain
    3
    4   resolution ofthe complex factual and legal issues;

    5                 d.    had Plaintiffs' Counsel not achieved the Settlement, there would
    6
        remain a significant risk that the Class may have recovered less or nothing from the
    7
    8   Defendants;

    9                 e.    Plaintiffs' Counsel have devoted over 8,787.32 hours, with a
   10
        lodestar value of $4,259,388.88, to achieve the Settlement; and
   11
   12                 f.    the amount of attorneys' fees awarded and expenses reimbursed

   13   from the Settlement Fund is fair, reasonable and consistent with fee and expense
   14
        awards in similar cases.
   15
   16         24.     The awarded attorneys' fees and expenses, and interest or income
   17   earned thereon, shall be paid to Lead Counsel from the Settlement Fund
   18
        immediately after the date this Final Judgment and Order of Dismissal is executed
   19
   20   subject to the terms, conditions, and obligations ofthe Stipulation, which terms,
   21   conditions, and obligations are incorporated herein.
   22
              25.     Pursuant to 15 U.S.C. §78u-4(a)(4), the Court awards: Lead Plaintiffs
   23
   24   and Class Representatives Cassella and Weitsman $7,500.00, each, for their time
   25
        and expense in representing the Class; Plaintiffs and Class Representatives Close
   26
        and Steamfitters $5,000.00, each, for their time and expense in representing the
   27
   28   Class; Plaintiff Abel $3,000.00 for his time and expense in representing the Class;

                                                 12
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    1   and Plaintiff Grace $1,500.00 for his time and expense in representing the Class.
    2
        The reimbursement awards shall be paid to Plaintiffs from the Settlement Fund
    3
    4   pursuant to the terms of the Stipulation.

    5         26.    The approved Plan of Allocation or award of attorneys' fees and
    6
        expenses in no way shall disturb or affect this Final Judgment and Order of
    7
    8   Dismissal and shall be considered separate from this Final Judgment and Order of

    9   Dismissal.
   10
              27.    In the event that the Settlement does not become effective in
   11
   12   accordance with the terms of the Stipulation, this Judgment shall be rendered null

   13   and void to the extent provided by and in accordance with the Stipulation and shall
   14
        be vacated, and in such event, all orders entered and releases delivered in
   15
   16   connection herewith shall be null and void to the extent provided by and in
   17   accordance with the Stipulation.
   18
              28.    Without further approval from the Court, the parties are authorized to
   19
   20   agree to and adopt such amendments, modifications and expansions of the
   21   Stipulation and its implementing documents (including all exhibits to the
   22
        Stipulation) as(a) shall be consistent in all material respects with this Judgment, or
   23
   24 (b)do not materially limit the rights of Class Members. Without further order of
   25
        the Court, the parties may agree to reasonable extensions oftime to carry out any of
   26
        the provisions ofthe Stipulation.
   27
   28

                                                    13
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    1         29.    As there is no just reason for delay in the entry ofthis Final Judgment
    2
        and Order of Dismissal, the Court hereby directs that this Final Judgment and Order
    3
    4   of Dismissal be entered by the clerk forthwith pursuant to Federal Rule of Civil

    5   Procedure 54(b). The direction of the entry of final judgment pursuant to Rule
    6
        54(b)is appropriate and proper because this Judgment fully and finally adjudicates
    7
    8   the claims ofthe Plaintiffs and the Class against Defendants in this Action, it

    9   allows consummation ofthe Settlement, and will expedite the distribution ofthe
   10
        Settlement proceeds to the Class Members.
   11
   12                                                 IT IS SO ORDERED:

   13   Dated:~~/Z      ~' ~,2016
   14
   15
                                                                   `
                                                                   ~
   16
                                                      Hon. Stephen V. Wilson
   17                                                 United States District Court Judge
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27



                                                 14
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    1                                     Exhibit 1
    2
           ■ Jason Neiss
    3
    4      ■ Carasel Yarian

    5      ■ Harold D. Yarian
    6
           ■ Anthony W. Shaieb and Mary Ann Shaieb
    7
    8
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